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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

__________________________________________
AMANDA JOHNSON,                            )
                                           )
                        Plaintiff,        )
                                          )
v.                                        )                   C.A. No. 17-cv-10789-GAO
                                          )
CENTRAL INTELLIGENCE AGENCY               )
                                          )
                        Defendant.        )
                                          )

                 CORRECTED ASSENTED-TO DEFENDANT’S MOTION
                        FOR EXTENSION TO FILE REPLY

       The Defendant requests that the Court extend Defendant’s time to file its reply to

Plaintiff’s Opposition to Plaintiff’s Motion for Summary Judgment up to and including March

23, 2018. Both the undersigned and CIA counsel have previously planned vacation leaves in

effect now and shortly, which has made it impossible for them to prepare a reply to Plaintiff’s

26-page, factually complicated Opposition.

       Plaintiff assents to this extension, and the undersigned is unaware of any prejudice to

Plaintiff or to the proceedings of the Court if this Motion is granted.



                                               Respectfully submitted,

                                               CENTRAL INTELLIGENCE AGENCY

                                               By its attorneys,

                                               ANDREW E. LELLING
                                               United States Attorney

                                       By:     /s/ Anita Johnson__________      ___
                                               ANITA JOHNSON, BBO No. 565540
                                               Assistant United States Attorney
                                               United States Attorney’s Office
                                               John Joseph Moakley U.S. Courthouse

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                                              Boston, MA 02210
                                              (617) 748-3266
                                              Anita.Johnson@usdoj.gov



                          Certificate of Service and Rule 7.1 Conference

       I certify that the foregoing will be filed through the electronic filing system of the Court,
which system will serve counsel for Plaintiff on this fifth day of March 2018, and that I have
conferred with said counsel and he assents to this Motion.

                                              /s/ Anita Johnson




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